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To:      Judge, Clerk of Court, and Counsel of Record
From: John T. Sparks, Sr., Esq.
Re:      Notice of Leave of Absence
Date: March 25, 2022


         COMES NOW John T. Sparks, Sr. and respectfully notifies the Judge before whom he

has cases pending, the affected Clerk of Court, and Opposing Counsel, that he will be on leave

pursuant to Georgia Uniform Code Rule 16.

      1. Applicant will be away from the practice of law for the purposes of CLE seminars and/or

         personal vacation on the following dates:

                April 14 - 26, 2022
                May 4 - 10, 2022
                June 29- July 7, 2022
                August 31 – September 7, 2022
                September 9 – 21, 2022
                October 20 – 25, 2022
                November 22 – 29, 2022
                December 19 – 27, 2022
                December 30, 2022 – January 6, 2023

      2. The affected Judge and Opposing Counsel shall have ten days from the date of this

         Notice to object to it. If no objections are filed, the leave shall be granted.

                                                        /s/ John T. Sparks, Sr.
                                                        John T. Sparks, Sr., Esq.
                                                        Bar No. 669575
                                                        2974 Lookout Place, NE, Suite 200
                                                        Atlanta, GA 30305-3272
                                                        (404) 869-0100
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                                CERTIFICATE OF SERVICE

        This is to certify that I have this date served a copy of the foregoing Notice of Leave of
Absence upon the Judge, Clerk and Opposing Counsel listed on the attached Exhibit A, by
depositing the same in the U.S. Mail with adequate postage affixed thereto or via the Court’s
electronic mail system.

       This 25th day of March 2022.

                                             AUSTIN & SPARKS, P.C.

                                             By:    /s/ John T. Sparks, Sr.
                                                    John T. Sparks, Sr.
                                                    Georgia Bar No. 669575
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                                       EXHIBIT A
Altshuler v. Fraser         Clerk of Court                  Carrie L. Christie, Esq.
CAFN: 21CV3383              Superior Court of DeKalb        John R. Hooven, Esq.
                            County                          Rutherford & Christie, LLP
                                                            clc@rclawllp.com
                                                            jrh@rclawllp.com

Calloway v. Fillingim       Clerk of Court                  Matthew W. Carlton, Esq.
CAFN: 21EV003045            State Court of Fulton County    Carlton Law, LLC
                                                            mcarlton@carlton-law.com

BHG CB TL1, LLC v.          Clerk of Court                  Christopher J. Diwan, Esq.
Cronin                      State Court of Cobb County      Diwan Law, LLC
CAFN: 21-A-3479                                             chris@diwanlaw.com

Pinnacle Bank (Corp) (TN)   Clerk of Court                  Henry O. Ofori, pro se
v. Ofori                    State Court of Fayette County   27 Prestwick Court
CAFN: 2021SV-0615                                           Peachtree City, GA 30269

Curtis v. Barrios           Clerk of Court                  G. Roger Land, Esq.
CAFN: 22100874              Superior Court of Cobb County   Mitchell Graham, Esq.
                                                            grlaw@lawnet.org
                                                            mitchell@lawnet.org

Golf Travel v. Mullins      Clerk of Court                  Tameka Haynes, Esq.
CAFN: 1:21-cv-00063         United States District Court    Randolph Frails, Esq.
                            Southern District of Georgia    Frails & Wilson LLC
                            Augusta Division                thaynes@frailswilsonlaw.com
                                                            randyfrails@frailswilsonlaw.com

Hayes v. Hope Haven         Clerk of Court                  Garrett Meader, Esq.
CAFN: 21CV0342              Superior Court of Jackson       Drew, Eckl & Farnham, LLP
                            County                          meaderg@deflaw.com

M3 Accounting Services,     Clerk of Court                  Jason A. Morris, Esq.
Inc. v. Dean, et al.        US District Court for the       Walter H. Bush, Esq.
CAFN: 2:18-cv-00246         Northern District of Georgia    Amanda D. Proctor, Esq.
                                                            Carlton Fields Jorden Burt, P.A.
                                                            jmorris@carltonfields.com
                                                            wbush@carltonfields.com
                                                            aproctor@carltonfields.com

Pitman, as Trustee of the   Clerk of Court                  Viraj P. Deshmukh, Esq.
David and Beverly Pitman    Superior Court of Forsyth       J. Patrick O’Brien, Esq.
Revocable Trust v. Lepley   County                          Thompson, O’Brien, Kemp & Nasuti,
CAFN: 21CV-0300-2                                           P.C.
                                                            pobrien@tokn.com
                                                            vdeshmukh@tokn.com
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                                            EXHIBIT A
Baker v. The Anthem              Clerk Of Court                    Brett C. Barlett, Esq.
Companies, Inc.                  US District Court for the         Kevin M. Young, Esq.
CAFN: 1:21-cv-4866               Northern District of Georgia      Lennon B. Haas, Esq.
                                                                   Seyfarth Shaw LLP
                                                                   bbartlett@seyfarth.com
                                                                   kyoung@seyfarth.com
                                                                   lhaas@seyfarth.com

Tolbert, et al. v. The           Clerk of Court                    Evan R. Mermelstein
Salvation Army                   US District Court for the         Law Offices of Evan R. Mermelstein,
CAFN: 1:21-cv-04703              Northern District of Georgia      LLC
                                                                   evan@mermelsteinlaw.com

                                                                   Thomas P. Gies, Esq.
                                                                   Andrew W. Bagley, Esq.
                                                                   Crowell & Moring LLP
                                                                   tgies@crowell.com
                                                                   abagley@crowell.com

Powell, et al. v. Stonepark of   Clerk of Court
Dunwoody Unit Owners             State Court of Fulton County
Association
CAFN: 22EV001770

Talboy v. Dukes                  Clerk of Court                    J. Carole Thompson Hord, Esq.
CAFN: 2021CV349741               Superior Court of Fulton County   Schreeder, Wheeler & Flint, LLP
                                                                   chord@swfllp.com

Estate of Lizzie Whitehead v. Clerk of Court                       Samuel S. Woodhouse, Esq.
JP Morgan Chase Bank          State Court of DeKalb County         Woodhouse LLC
CAFN: 22A00621                                                     swoodhouse@woodhouselawfirm.com
